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 7
                          UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8                             WESTERN DIVISION
 9

10   ADAM QUATRO,               ) Case No.: 2:16-cv-00451-DSF-E
                                )
11            Plaintiff,        )
                                ) NOTICE OF VOLUNTARY
12        vs.                   ) DISMISSAL
                                )
13
                                )
                                )
     MCCARTHY, BURGESS & WOLFF, )
14                              )
     INC.
15
                                )
              Defendant         )
16
                                )

17
           PLEASE TAKE NOTICE that whereas no opposing party has served either
18

19
     an answer or a motion for summary judgment, Plaintiff Adam Quatro ("Plaintiff"),
20
     by and through his attorneys, The Law Offices of Jonathan A. Stieglitz, herby
21
     voluntarily dismisses the above captioned action pursuant to Rule 41(a)(1)(A)(i) of
22

23   the Federal Rules of Civil Procedure.
24
     Dated: April 18, 2016
25                                                      THE LAW OFFICES OF
26                                                      JONATHAN A. STIEGLITZ
27
                                                 By:          /s/ Jonathan A Stieglitz
28                                                      Jonathan A Stieglitz



                                  [Notice of Dismissal] - 1
